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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                      )
                                                )
                Plaintiffs,                     )
                                                )        Case No. 16-2105-JAR-JPO
v.                                              )
                                                )
KRIS KOBACH, in his official capacity as        )
Secretary of State for the State of Kansas,     )
                                                )
                 Defendant.                     )
                                                )


                     PLAINTIFFS’ APPLICATION FOR
                ATTORNEYS’ FEES AND LITIGATION EXPENSES
            IN CONNECTION WITH THEIR MOTION FOR CONTEMPT

       Pursuant to this Court’s Order granting Plaintiffs’ motion for contempt, Plaintiffs are now

entitled to seek attorneys’ fees and non-taxable costs in connection with that motion. See Mem.

and Order dated April 18, 2008 (“Contempt Order”), Doc. 520. For the reasons that follow, this

Court should award Plaintiffs’ attorneys’ fees and non-taxable expenses in the total of

$51,646.16.

       I.      Computation of the Lodestar

       The general principles governing the award of attorneys’ fees are well-settled. First, the

number of hours reasonably expended are multiplied by the attorneys’ reasonable hourly rates to

determine the product or “lodestar” figure. Hensley, v. Eckerhart, 461 U.S. 424, 433 (1983).

The “resulting product is presumed to be the minimum reasonable fee to which counsel is

entitled.” Pennsylvania v. Del. Valley Citizens Council for Clean Air, 478 U.S. 546, 564 (1986)

(internal quotation marks omitted); see also Blum v. Stenson, 465 U.S. 886, 897 (1984). In this

regard, the Supreme Court stated: “We . . . take as our starting point the self-evident proposition


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that the ‘reasonable attorney’s fee’ provided by [§ 1988] should compensate” for “the work

product of an attorney.” Missouri v. Jenkins by Agyei, 491 U.S. 274, 285 (1989). “[T]here is a

‘strong presumption’ that the lodestar figure is reasonable[.]” Perdue v. Kenny A. ex rel. Winn,

559 U.S. 542, 553-54 (2010).

                       A. Hours

       Litigating the underlying contempt motion required the investment of a significant

number of attorney and paralegal hours. Plaintiffs’ attorneys spent 133.5 actual hours on the

underlying contempt motion and related correspondence, in addition to 19.41 hours contributed

by paralegals. This is not surprising given the complexity of this type of case. However, the

number of hours was exacerbated by the Defendant’s repeated refusals to cooperate on, and

instead choosing to litigate, the relatively simple matters underlying the contempt motion. See

City of Riverside v. Rivera, 477 U.S. 561, 580 n.11 (1986) (“The government cannot litigate

tenaciously and then be heard to complain about the time necessarily spent by plaintiff[s] in

response.”) (internal quotation marks and citation omitted); Henson v. Columbus Bank & Trust

Co., 770 F.2d 1566, 1575 (11th Cir. 1985) (“While [defendant] is entitled to contest vigorously

’[plaintiffs’] claims, once it does so it cannot then complain that the fees award should be less

than claimed because the case could have been tried with less resources and with fewer hours

expended.”).

       Indeed, the hours expended prosecuting this motion were largely due to Defendant’s

unnecessary recalcitrance, which is exactly why this Court found it appropriate to hold

Defendant responsible for Plaintiffs’ fees. The issue of Defendant’s non-compliance with the

Preliminary Injunction in this case was addressed by this Court almost two years ago, in

September 2016. Since that time, Plaintiffs have continued to receive reports of non-compliance



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by Defendant that they have had to investigate, monitor, and work to resolve. Plaintiffs first

notified Defendant of the specific issues underlying the contempt motion—i.e. the failure of

Defendant to ensure that covered voters receive a postcard informing them of their polling

location—by letter on November 10, 2017; but rather than address this issue, defense counsel

repeatedly responded by taking the position that sending these postcards was unnecessary. See

Contempt Order, Doc. 520, at 6-7. Defendant maintained that position after Plaintiffs filed the

underlying contempt motion. See id. at 8.

       It was not until the contempt hearing on March 20, 2018 that “Defendant changed

course,” id. at 17, and claimed that he in fact directed that such postcards be mailed—which, if

true, would mean that Defendant had “waited until Plaintiffs exhausted informal channels to

remedy the problem, and allowed Plaintiffs to fully brief a contempt motion and prepare for a

show cause hearing,” before coming forward with purported material evidence about his

compliance with the Preliminary Injunction. Id. at 20. And, at the contempt hearing on March

20, Defendant made multiple “disingenuous[]” arguments; elicited testimony that the Court

determined was “not . . . credible,” and “strains credulity”; and “fail[ed] to take responsibility for

violating this Court’s orders. . . .” Id. at 15, 18, 19. As set forth in the Contempt Order, had

Defendant been more cooperative, “Plaintiffs (and the Court) could have avoided significant

time and expense in litigating this motion.” Id. at 24.

       In sum, Defendant displayed a willful defiance of this Court’s authority, and has

unnecessarily multiplied proceedings. He should be assessed for of the total attorney time for

which Plaintiffs seek fees.




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       By contrast, Plaintiffs’ counsel attempted to keep its hours working on this issue to a

minimum. See Ho Decl., attached hereto as Ex. A, at 9. As the Ninth Circuit has explained,

there is no incentive to over-lawyer an issue like this:

           It must also be kept in mind that lawyers are not likely to spend
           unnecessary time on contingency fee cases in the hope of
           inflating their fees. The payoff is too uncertain, as to both the
           result and the amount of the fee. It would therefore be the
           highly atypical civil rights case where plaintiff’s lawyer
           engages in churning. By and large, the court should defer to
           the winning lawyer’s professional judgment as to how much
           time he was required to spend on the case; after all, he won,
           and might not have, had he been more of a slacker.

Moreno v. City of Sacramento, 534 F.3d 1106, 1112 (9th Cir. 2008).

       The hours for which Plaintiffs seek fees are as follows:

                                                              Hours
               Neil Steiner                                    8.40
               Dale Ho                                        32.76
               Doug Bonney                                     8.50
               Angela Liu                                      5.10
               R. Orion Danjuma                                8.90
               Sophia Lin Lakin                               14.03
               Tharuni Jayaraman                              55.80
               Lila Carpenter                                 11.31
               Delaney Berman                                  8.10


       As set forth in the declarations of Mr. Ho and Mr. Steiner, the hours set forth above

represent various reductions and exclusions, in an exercise of billing judgment. These

exclusions include work performed by attorneys in connection with the underlying contempt

motion if they performed very little work on the motion (i.e., worked fewer than two hours on

the motion).


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                         B. Hourly Rates

          In setting reasonable attorneys’ fees, the general touchstone is whether the rate is in line

with those prevailing in the community for comparable services by lawyers of reasonably

comparable skill, experience, and reputation. See, e.g., Lippoldt v. Cole, 468 F.3d 1204, 1224-

1225 (10th Cir. 2006) (considering the “‘prevailing market rate in the relevant community’” in

determining what constitutes reasonable rate) (quoting Malloy v. Monahan, 73 F.3d 1012, 1018

(10th Cir. 1996)). “The hourly rate should be based on the lawyers’ skill and experience in civil

rights or analogous litigation.” Id. (internal quotation marks and citation omitted). Various

factors can justify a departure from market rates, including “[t]he novelty and difficulty of the

questions”; “[t]he skill requisite to perform the legal service properly”; “[w]hether the fee is

fixed or contingent”; “[t]he amount involved and the results obtained”; and “[t]he experience,

reputation, and ability of the attorneys.” Mkt. Ctr. E. Retail Prop., Inc. v. Barak Lurie, Lurie &

Park, 730 F.3d 1239, 1247 (10th Cir. 2013) (describing the 12 “Johnson factors” regarding fee

determinations, as set forth in Johnson v. Georgia Highway Exp., Inc., 488 F.2d 714 (5th Cir.

1974)).

          The hourly rates requested for the attorneys and paralegals who performed work on the

underlying contempt motion are as follows:

                 Attorneys                                                      Rate

                 Neil Steiner, Dale Ho, Doug Bonney                             $450.00

                 Angela Liu, R. Orion Danjuma, Sophia Lin Lakin                 $350.00

                 Tharuni Jayaraman                                              $275.00

                 Lila Carpenter, Delaney Berman (Paralegals)                    $110.00




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As set forth below, these requested rates are reasonable for complex civil litigation in the Kansas

City market. See Hallquist Decl., hereto attached as Ex. B, at 3; cf. Fox v. Pittsburg State Univ.,

258 F. Supp. 3d 1243, 1264 (D. Kan. 2017) (finding, for employment litigation before this Court,

that “the relevant market is the Kansas City metropolitan area, which includes Missouri and

Kansas”).

       But, to the extent that this Court determines that these rates exceed or are at the high

range for the Kansas City market, an upward departure and consideration of the higher home

market rates of Plaintiffs’ attorneys would be appropriate given the presence of numerous

Johnson factors here. Generally speaking, voting rights litigation is highly specialized.

According to a district court time study conducted by the Federal Judicial Center measuring the

complexity and time needed to handle matters by the district courts, voting rights cases were

among the top five most complex cases and were given a weight of 3.86 compared to 1.0 for an

“average” case. Federal Judicial Center, 2003-2004 District Court Case-Weighting Study, at 5

tbl.1 (2005), https://www.fjc.gov/sites/default/files/2012/CaseWts0.pdf (“hereinafter “Case-

Weighting Study:”).

       Accordingly, Plaintiffs relied on out-of-state counsel with civil rights and voting rights

experience, and specifically, substantial experience with litigating cases under the NVRA. See

Bonney Decl., hereto attached as Ex. C, at 2-3 (describing need for out-of-state counsel); Ex. A,

Ho Decl. at 3-9 (describing qualifications and background of ACLU counsel); Steiner Decl.,

hereto attached as Ex. D, at 2-5 (describing qualifications and background of Dechert counsel).

Indeed, while various courts have addressed issues that relate to matters in this litigation, see,

e.g., Arizona v. Inter-Tribal Council of Ariz., 570 U.S. 1 (2013); Kobach v. U.S. Election

Assistance Comm’n., 772 F.3d 1183 (10th Cir. 2014), no court had previously considered the



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precise question underlying this case, i.e., whether Section 5 of the NVRA prohibits a

documentary proof of citizenship requirement for voter registration during the motor-voter

process. And no court in this District has ever adjudicated an NVRA case prior to this litigation.

In sum, the participation of out-of-state counsel with substantial voting rights and NVRA

experience were critical for the prosecution of this matter generally, and for the underlying

contempt motion specifically. Under these circumstances, it is appropriate for the Court, in

calculating the lodestar, to consider the home rates of Plaintiffs’ attorneys. See Jeffboat, LLC v.

Dir., Office of Workers’ Comp. Programs, 553 F.3d 487, 490 (7th Cir. 2009) (“[O]ur cases have

consistently recognized that an attorney’s actual billing rate for comparable work is

presumptively appropriate for use as a market rate when making a lodestar calculation.”).

       Specifically, the four tiers of rates requested by Plaintiffs for their counsel are reasonable

for the following reasons:

       First, the rate of $450 per hour is a reasonable rate for Mr. Steiner, Mr. Ho, and Mr.

Bonney. Mr. Steiner is a partner at the law firm Dechert, LLP; Mr. Ho is the Director of the

ACLU Voting Rights Project, a position akin to partner at a private law firm; and Mr. Bonney is

the former Legal Director of the Kansas ACLU, also a position akin to a law firm partner. See

Ex. A, Ho Decl. at 3-5. Each of them has more than 10 years of experience as an attorney. See

id.; Ex. D, Steiner Decl. at 2-3, 8; Ex. C, Bonney Decl. at 1-2 (21 years for Mr. Steiner, 13 years

for Mr. Ho, and 33 years for Mr. Bonney). Mr. Steiner and Mr. Ho have substantial experience

litigating voting rights matters and cases under the NVRA in particular, and Mr. Bonney has

substantial general civil rights experience. See id.

       A rate of $450 per hour is reasonable for attorneys of their experience and skill working

on complex civil litigation in the Kansas City area. See Ex. B, Hallquist Decl. at 3. This Court



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has approved a rate of $450 for plaintiffs’ attorneys working on civil rights matters. See Riordan

v. ASAP Expert Counseling, LLC, No. 16-CV-2011-JAR-TJJ, 2017 WL 2225223, at *2, n.11 (D.

Kan. May 19, 2017) (approving rate of $450.00 for plaintiffs’ lawyer in Kansas employment

matter). 1 And it is within the range of what Mr. Bonney has been awarded for civil rights work

in the District of Kansas. See Bonney Decl., Marie v. Mosier, No. 14-cv-2518, (D. Kan. Sept. 9,

2016), Doc. 148-1 at 2 (requesting fees at a rate of $400 per hour for Doug Bonney); Order,

Marie v. Mosier, No. 14-cv-2518, (D. Kan. Sept. 27, 2016), Doc. 150 (granting attorney’s fees,

in the total amount of $295,000.00).

       The requested rate is also a reasonable rate for civil rights work in Mr. Steiner and Mr.

Ho’s home market of New York. See Saylor Decl., attached hereto as Ex. E, at 2-3. Indeed, it is

less than what ACLU attorneys with comparable skills and experience have been awarded.

Simonds v. N.Y. City Dep’t of Corrections, No. 06 Civ. 5298(NRB), 2008 WL 4303474, at *1

n.2, *10 (S.D.N.Y. Sept. 16, 2008) (July 2008 decision awarding attorney’s fees at a rate of

$425/hour to the Director of the ACLU Women’s Rights Project, which would translate into

approximately $482.17 per hour in March 2018 dollars 2). This rate is substantially less than



1
  Notably, the Federal Judicial Center rated employment cases as 1.67 in terms of complexity
and time, which is more than the average federal matter (1.0), but substantially less than the
rating given to voting rights cases (3.86). See Case-Weighting Study, at 5 tbl.1, available at
https://www.fjc.gov/sites/default/files/2012/CaseWts0.pdf.
2
  Cf. Bruce v. Colvin, Civ. Action No. 14-1166-JWL, 2015 WL 7078939, at *4 (D. Kan. Nov. 13,
2015) (Court “used the Bureau of Labor Statistics CPI Inflation Calculator” to calculate
appropriate rate for attorney’s fees); Culler v. Massanari, No. 96-4164-SAC, 2001 WL 1718033,
at *2 (D. Kan. Dec. 20, 2001) (“District courts have been determining the cost-of-living
adjustment by multiplying the basic EAJA rate by the current consumer price index . . .”)
(internal quotation marks and citation omitted). Here, the CPI indicates that $425, which was
awarded to an ACLU Project Director in 2008, translates to $476.42 in 2018. See U.S. Dep’t of
Labor, Bureau of Labor Statistics, Databases, Tables, & Calculators by Subject, CPI Inflation
Calculator (hereinafter, “U.S. Dep’t of Labor, CPI Inflation Calculator,” https://www.bls.gov/
data/inflation_calculator.htm.

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what is set forth in the Laffey Matrix—which this Court has cited favorably. 3 See Laffey

Matrix 4 (setting rates of $864 per hour for attorneys with 20+ years of experience, and $717 per

hour for attorneys with 11-19 years of experience). This rate is also less than half of what

Dechert customarily charges its for-profit clients. See Ex. D, Steiner Decl. at 6-7 (Dechert’s

customary rate for Mr. Steiner is $1,140.00 per hour, and would bill a partner with Mr. Ho’s

experience at $915 per hour).

         Second, the rate of $350 per hour is a reasonable rate for Ms. Liu, Mr. Danjuma, and Ms.

Lakin. Ms. Liu is a senior associate at Dechert, while Mr. Danjuma and Ms. Lakin are staff

attorneys at the ACLU. See Ex. A, Ho Decl. at 5-9; Ex. D, Steiner Decl. at 4. All have between

6 and 10 years of experience as attorneys. See Ex. A, Ho Decl. at 5-9 (8 years for Mr. Danjuma,

and 6 years for Ms. Lakin) ; Ex. D, Steiner Decl. at 4 (9 years for Ms. Liu). All have substantial

experience in voting rights and/or civil rights matters. See Ex. A, Ho Decl. at 5-9; Ex. D, Steiner

Decl. at 4.

         A rate of $350 per hour is reasonable for attorneys of their experience and skill working

on complex civil litigation in the Kansas City area. See Ex. B, Hallquist Decl. 3. The requested

rate is also close to, but slightly below market-level for civil rights work in the context of Mr.

Danjuma and Ms. Lakin’s home market of New York. See Ex. E, Saylor Decl. at 3-4; Simonds,

2008 WL 4303474, at *1 n.2, *10 (July 2008 decision awarding attorney’s fees at a rate of

$325/hour to an ACLU attorney with 10 years of experience (Emily Martin), which would

translate into approximately $368.72 per hour in 2018 dollars 5). This rate is substantially less

3
 See Appointment Order, United States v. Black, No. 16-cr-20032, Doc. 146 at 11-12 (D. Kan.
Oct. 11, 2016) (awarding $500 per hour to special master).
4
    Available at http://www.laffeymatrix.com/see.html.
5
     See   U.S.    Dep’t      of    Labor,     CPI       Inflation    Calculator,     available      at
https://www.bls.gov/data/inflation_calculator.htm.

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than the rates set forth in the Laffey Matrix ($636 per hour for attorneys with 8-10 years of

experience, and $440 per hour for attorneys with 4-7 years of experience). 6 It is also

substantially less than what Dechert customarily charges its for-profit clients. See Ex. D, Steiner

Decl. at 6-7 (Dechert customarily bills Ms. Liu at $850.00 per hour, and would bill Mr. Danjuma

and Ms. Lakin at $840 and $795 per hour, respectively).

          Third, the rate of $275 per hour is a reasonable rate for Ms. Jayaraman. Ms. Jayaraman is

a junior associate at the law firm Dechert, with significant background in the area of voting

rights. See Ex. D, Steiner Decl. at 4-5. A rate of $275 per hour is a reasonable fee for a second-

year attorney of her experience and skill working on complex civil litigation in the Kansas City

area. See Ex. B, Hallquist Decl. at 3. It is less than the rate set forth for attorneys of her

experience under the Laffey Matrix ($359 per hour), 7 and less than half of what Dechert

customarily bills ($565 per hour) for Ms. Jayaraman’s time. See Ex. D, Steiner Decl. at 6-7.

          Fourth, the rate of $110 per hour is reasonable for paralegal time. The term “attorney’s

fees” encompasses paralegal time as well as attorney time. Cf. Richlin Sec. Serv. Co. v. Chertoff,

553 U.S. 571, 580 (2008) (attorney’s fees under 42 U.S.C. § 1988 “embrace[s] the fees of

paralegals as well as attorneys”) (citing Jenkins, 491 U.S.). $110 per hour is a reasonable fee for

a paralegal. See Ex. B, Hallquist Decl. at 3; Ex. E, Saylor Decl. at 2-3; Simonds, 2008 WL

4303474, at *1, *10 (July 2008 decision awarding attorney’s fees at a rate of $100/hour to an

ACLU paralegal, which would translate into approximately $113.45 per hour in 2018 dollars 8).




6
    See Laffey Matrix, available at http://www.laffeymatrix.com/see.html.
7
    See id., n. 6.
8
     See   U.S.    Dep’t      of    Labor,     CPI        Inflation    Calculator,     available     at
https://www.bls.gov/data/inflation_calculator.htm.

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It is substantially less than what Dechert customarily bills for-profit clients ($160 per hour) for

paralegal time. See Ex. D, Steiner Decl. at 6-7.

       The lodestar and presumptive attorneys’ fee is $49,637.04, as set forth in the table below:

                                              Hours              Rate               Total
Neil Steiner                                   8.40            $450.00            $3,780.00
Dale Ho                                       32.76            $450.00           $14,740.00
Doug Bonney                                    8.50            $450.00            $3,825.00
Angela Liu                                     5.10            $350.00            $1,785.00
R. Orion Danjuma                               8.90            $350.00            $3,115.00
Sophia Lin Lakin                              14.03            $350.00            $4,911.67
Tharuni Jayaraman                             55.80            $275.00           $15,345.00
Lila Carpenter                                11.31            $110.00            $1,244.38
Delaney Berman                                 8.10            $110.00             $891.00
                                                                    Total:       $49,637.04


       II.       Non-Taxable Expenses

       This court’s Contempt Order also entitles Plaintiffs to recover costs incurred in

prosecuting their motion for contempt. The ACLU incurred costs totaling $454.95, see Ex. A,

Ho Decl. at 14; while Dechert incurred costs totaling $1,554.17, see Ex. D, Steiner Decl. at 8-9.

Plaintiffs therefore request collective non-taxable expenses in the total of $2,009.12.



       III.      Additional Circumstances

       “[T]he general theme of Defendant’s [non-]compliance with the preliminary injunction

order—that this Court’s order is not ‘the law.’” Contempt Order, Doc. 520, at 21. That theme

has continued, even with this Court’s issuance of its Contempt Order. Since that time, Defendant




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has continued to deny responsibility for his underlying actions giving rise to the contempt

motion, and has displayed disregard for this Court’s authority.

       For example, on an interview on April 22, Defendant described this Court’s Contempt

Order as “just ridiculous.” 9 And, in a letter dated April 28, Defendant—through his counsel Sue

Becker—again misrepresented the record, by claiming that, “in the weeks preceding the

November 2016 Election,” “[t]he Secretary of State’s Office instructed the counties” to send

postcards to voters covered by the preliminary injunction. 10 That representation flies in the face

of Ms. Becker’s past repeated assertions “that the postcards are unnecessary.” Contempt Order,

Doc. 520, at 6; see also id. at 7. In the same letter, Ms. Becker also represented that this Court’s

contempt ruling was “based on [the Court’s] incorrect understanding that the Secretary of State’s

Office has the legal authority to compel the counties to act.” 11 She further argued that the

premise of the contempt ruling was only that Defendant “was found to be in noncompliance,”

rather than any “disrespectful behavior on the part of the Secretary of his legal team” 12—which

directly contradicts this Court’s determinations that Defendant made “disingenuous[]” arguments

and “fail[ed] to take responsibility for violating this Court’s orders. . . .” Contempt Order, Doc.

520, at 15, 19.

       In light of the foregoing, this Court should award Plaintiffs’ requested attorney’s fees and

costs without any further reductions. Defendant’s failure to take responsibility for his actions

9
 John Binder, Exclusive: Kris Kobach on Being Held in Contempt During Fight Against Voter
Fraud: It’s Just Ridiculous, Breitbart.com (April 22, 2018), http://www.breitbart.com/big-
government/2018/04/22/kris-kobach-contempt-of-court-ridiculous/ (quoting Defendant Kobach
as stating “[a]nd so the judge is holding my office in contempt for the failure of counties to
follow the instructions that we gave them. It’s just ridiculous.”) (emphasis in original).
10
   Letter from Sue Becker to Kansas Senate President Sue Wagle at 2, April 28, 2018, available
at http://media.kansascity.com/livegraphics/2018/pdf/ContemptLetter.pdf.
11
   Id.
12
   Id.

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and his continued disrespect for the Court’s authority suggest that significant monetary sanctions

are necessary to deter future non-compliance. Defendant’s conduct should also be a factor

considered by the Court when it considers whether “[a]ny further remedial measures” are

necessary upon deciding the final merits of the case. Id. at 24.



       IV.     Conclusion

       For the foregoing reasons, Plaintiffs request this Court award them a total of $51,646.16,

consisting of attorneys’ fees in the amount of $49,637.04, and non-taxable expenses in the

amount of $2,009.12.



DATED this 7th day of May, 2018.

Respectfully submitted,

/s/ Stephen Douglas Bonney                       /s/ Dale E. Ho
STEPHEN DOUGLAS BONNEY (#12322)                  DALE HO*
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Counsel for Plaintiffs                * admitted pro hac vice




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                                  CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on this 7th day of May, 2018, I electronically filed

the foregoing document using the CM/ECF system, which automatically sends notice and a copy

of the filing to all counsel of record.

                                               /s/ Stephen Douglas Bonney
                                               STEPHEN DOUGLAS BONNEY (#12322)

                                               Attorney for Plaintiffs




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                          EXHIBIT A
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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                     )
                                               )
                Plaintiffs,                    )
                                               )        Case No. 16-2105-JAR-JPO
v.                                             )
                                               )
KRIS KOBACH, in his official capacity as       )
Secretary of State for the State of Kansas,    )
                                               )
                Defendant.                     )
                                               )


          DECLARATION OF DALE E. HO IN SUPPORT OF PLAINTIFFS’
       APPLICATION FOR ATTORNEYS’ FEES AND LITIGATION EXPENSES
           IN CONNECTION WITH THEIR MOTION FOR CONTEMPT


       I, Dale E. Ho, declare under penalty of perjury that the following is true and correct:

       1.      The national American Civil Liberties Union (“ACLU”), the ACLU of Kansas

(“Kansas ACLU”), and Dechert LLP, were retained in 2015 to represent Plaintiffs in the above-

captioned matter.

       2.      The American Civil Liberties Union (“ACLU”) is a nationwide, nonprofit,

nonpartisan organization with over 1,600,000 members dedicated to defending the principles

embodied in the Constitution and our nation’s civil rights laws. The ACLU Foundation is a

national nonprofit organization under section 501(c)(3) of the Internal Revenue Code and

educates the public about civil liberties and employs lawyers who provide legal representation

free of charge in cases involving civil liberties. The ACLU Voting Rights Project was

established in 1965 – the same year that the historic Voting Rights Act (VRA) was enacted – and

has litigated more than 300 cases since that time, including numerous voting rights cases in the

U.S. Supreme Court, including: Ohio A Philip Randolph Institute v. Husted, No. 16-980 (U.S.
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argued Jan 10, 2018); Shelby County, Ala. v. Holder, 570 U.S. 529 (2013); Arizona v. Inter Tribal

Council of Arizona, Inc., 570 U.S. 1 (2013); Nw. Austin Mun. Util. Dist. No. One v. Holder, 557

U.S. 193 (2009); Crawford v. Marion Cty. Election Bd., 553 U.S. 181 (2008); and Abrams v.

Johnson, 521 U.S. 74 (1997).

   3. Over the years, the ACLU Voting Rights Project has represented plaintiffs in jurisdictions

around the country bringing lawsuits to enforce the National Voter Registration Act, 52 U.S.C.

20501 et seq. (“NVRA”), the statute governing this case, including Arizona v. Inter Tribal

Council of Arizona, supra; Ohio A. Philip Randolph Institute v. Husted, supra; League of Women

Voters of California v. Kelly, No. 17-cv-02665-LB, 2017 WL 3670786 (N.D. Cal. Aug. 25,

2017); and Georgia State Conference of N.A.A.C.P. v. Kemp, 841 F. Supp. 2d 1320 (N.D. Ga.

2012).

         4.    The Kansas ACLU is the national ACLU’s statewide affiliate in Kansas. The

Kansas ACLU, based in Overland Park, KS, has a local presence in the state, with over 30,000

members statewide. Kansas ACLU attorneys have extensive experience practicing in Kansas

federal and state courts on a range of constitutional issues, including voting rights litigation.




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Qualifications of ACLU Staff Working on the Case

       5.      In this section I will describe the qualifications and expertise of the staff of the

ACLU Voting Rights Project for whose time we seek to collect fees.

       6.      I am, and have been since May 2013, the director of the ACLU Voting Rights

Project.

            a. I obtained a Bachelors of Arts degree from Princeton University in 1999, and a

               Juris Doctor from Yale Law School in 2005.

            b. I was admitted to the practice of law in the State of New York in 2006. I have

               been continuously engaged in the practice of law on a full-time basis since 2006.

               I am admitted to the following federal courts:

                   i. U.S. District Courts for the Southern District of New York (2008); Eastern

                      District of New York (2008); Eastern District of Wisconsin (2013).

                   ii. U.S. Court of Appeals for the First Circuit (2016), U.S. Court of Appeals

                      for the Second Circuit (2008), U.S. Court of Appeals for the Fourth Circuit

                      (2014), U.S. Court of Appeals for the Fifth Circuit (2013), U.S. Court of

                      Appeals for the Sixth Circuit (2014), U.S. Court of Appeals for the

                      Seventh Circuit (2014), U.S. Court of Appeals for the Eighth Circuit

                      (2016), U.S. Court of Appeals for the Ninth Circuit (2010), U.S. Court of

                      Appeals for the Tenth Circuit (2016) and the U.S. Court of Appeals for the

                      District of Columbia Circuit (2010).

                  iii. The United States Supreme Court (2010).

            c. From 2005 to 2006, I worked as a law clerk for the Honorable Barbara S. Jones in

               the U.S. District Court for the Southern District of New York. From 2006 to



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      2007, I worked as a law clerk for the Honorable Robert S. Smith in the New York

      Court of Appeals.

   d. From 2007 to 2009, I was an associate at the law firm, Fried, Frank, Harris,

      Shriver, & Jacobson LLP (“Fried Frank”) in New York. At Fried Frank, I litigated

      complex commercial matters and federal civil rights cases, including work under

      the federal Voting Rights Act (“VRA”). In particular, I assisted in drafting an

      amicus brief in Bartlett v. Strickland, 556 U.S. 1 (2009), a voting rights case

      before the United States Supreme Court. That brief was cited in the dissenting

      opinion of Justice Breyer, 556 U.S. at 45.

   e. From 2009 to April 2013, I worked as Assistant Counsel in the Political

      Participation Group at the NAACP Legal Defense and Education Fund, Inc.

      (“LDF”). At LDF, my practice was devoted almost exclusively to voting rights

      litigation in federal court. Among my voting rights matters at LDF included

      Shelby County v. Holder, 133 S. Ct. 2612 (2013). With respect to litigation under

      the NVRA, I served as trial counsel in a successful case under Section 7 of the

      NVRA, Scott v. Schedler, No. CIV.A. 11-926, 2013 WL 264603, at *1 (E.D. La.

      Jan. 23, 2013).

   f. From May 2013 to present, I have been the Director of the Voting Rights Project

      at the American Civil Liberties Union (“ACLU”). In this capacity, I supervise

      and directly participate in the ACLU’s docket of voting rights litigation

      throughout the country, including: Ohio A Philip Randolph Institute v. Husted,

      No. 16-980 (U.S. argued Jan 10, 2018) (NVRA case); North Carolina NAACP v.

      North Carolina, 831 F.3d 204 (4th Cir. 2016), cert. denied, 137 S. Ct. 1399



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               (2017); Frank v. Walker, 819 F.3d 384 (7th Cir. 2016); Ohio State Conference of

               N.A.A.C.P. v. Husted, 768 F.3d 524, 533 (6th Cir. 2014), vacated sub nom., No.

               14-3877, 2014 WL 10384647 (6th Cir. Oct. 1, 2014).

            g. I have lectured and written extensively on issues of voting rights and election law.

               I am currently an adjunct professor of law at NYU Law School, where I co-teach

               the Racial Justice Clinic, and at Brooklyn Law School, where I teach a course on

               Election Law. I have published articles on election law topics in several law

               reviews, including the Yale Law Journal Forum; the Harvard Civil Rights-Civil

               Liberties Law Review; the Stanford Law & Policy Review; and the NYU Journal

               of Law and Public Policy. I have spoken on voting rights issues at various law

               schools, including Yale Law School, Harvard Law School, Stanford Law School,

               Columbia Law School, and NYU School of Law.

            h. I have served on the faculty for redistricting seminars for state legislators in

               Louisiana and Texas, and have testified in state legislatures around the country on

               election law issues, including in California, Connecticut, Kentucky, and New

               York.

            i. I am also a member of the Election Law Committee of the American Bar

               Association; and for three years, from 2009 through 2012, I served as a member

               of the Election Law Committee of the New York City Bar Association.

            j. In 2017, I was named one of the Best Asian Pacific American lawyers Under the

               Age of 40 by the National Asian Pacific American Bar Association.

       7.      R. Orion Danjuma is a staff attorney at ACLU, and has served in that capacity

since 2015.



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   a. Mr. Danjuma obtained a Bachelors of Art degree from Yale University in 2000

      and a Juris Doctor from Stanford Law School in 2010.

   b. He has been admitted to the practice of law in the State of New York since 2011

      and in the State of California since 2013.

   c. Mr. Danjuma is admitted to practice in the following federal courts:

           i. U.S. District Courts for the Eastern District of Michigan (2013); Central

              District of California (2013); Southern District of New York (2015).

          ii. U.S. Court of Appeals for the First Circuit (2014), U.S. Court of Appeals

              for the Seventh Circuit (2012), U.S. Court of Appeals for the Ninth

              Circuit (2013), and the U.S. Court of Appeals for the Tenth Circuit (2016)

              Circuits.

         iii. The United States Supreme Court (2018).

   d. He has also been admitted pro hac vice in various federal and state courts.

   e. From 2010 to 2011, Mr. Danjuma worked as a law clerk for the Honorable Myron

      H. Thompson in the U.S. District Court for the Middle District of Alabama. From

      2011 to 2012, he worked as a law clerk for the Honorable Ann Claire Williams in

      the U.S. Court of Appeals for the Seventh Circuit.

   f. From 2012 to 2014, Mr. Danjuma was a Skadden Fellow with the ACLU

      Immigrants’ Rights Project where his work focused on litigation to protect the

      civil rights of immigrants in the United States.

   g. From 2014 to 2015, Mr. Danjuma was an associate with the law firm, Emery Celli

      Brinckerhoff & Abady LLP (“Emery Celli”) in New York City. At Emery Celli, he




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      litigated commercial and civil rights cases, including cases involving wrongful

      conviction and violations of the fair housing act.

   h. From 2015 to the present, Mr. Danjuma has worked as a staff attorney with the

      ACLU Centers for Equality and Justice.

   i. Mr. Danjuma has experience litigating a range of civil rights cases in state and

      federal court. His litigation involving the NVRA includes League of Women

      Voters v. Newby, 838 F.3d 1 (D.C. Cir. 2016), a related case concerning Kansas’s

      documentary proof of citizenship requirement. His broader litigation experience

      includes: S.R. v. Kenton Cty. Sheriff's Office, No. 215CV143, 2017 WL 4545231

      (E.D. Ky. Oct. 11, 2017) (disability rights and excessive force); Dade v. City of

      Sherwood, Arkansas, No. 4:16-CV-602 (E.D. Ark. Aug. 23, 2016) (debtors’

      prisons); Fair Housing Justice Center v. M&T Bank, No. 1:15-cv-00779

      (S.D.N.Y. Feb. 3, 2015) (fair housing); Cosme v. City of New York, No. 1:14-cv-

      01653 (S.D.N.Y. Mar. 11, 2014) (wrongful conviction and malicious prosecution);

      Morales v. Chadbourne, 793 F.3d 208, 211 (1st Cir. 2015) (immigration detainer

      of U.S. citizen); Roy v. Cty. of Los Angeles, 114 F. Supp. 3d 1030, 1033 (C.D. Cal.

      2015) (immigration detainers); Arizona Dream Act Coal. v. Brewer, 757 F.3d

      1053, 1058 (9th Cir. 2014) (immigrant civil rights); Hernandez v. Heineman, No.

      CI13-2124 (Neb. Dist. Ct. June 10, 2013) (immigrant civil rights).

   j. Mr. Danjuma has given presentations and webinars on civil rights work for

      entities including the Skadden Fellowship Foundation, the Immigrant Defense

      Project, and the Southern Poverty Law Center.




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       8.      Sophia Lin Lakin is a staff attorney with the ACLU and has been in this position

since 2016. Prior to becoming a staff attorney, she was a legal fellow with the ACLU.

            a. Ms. Lakin obtained a Bachelor of Arts degree and Master of Science degree in

               Engineering from Stanford University in 2004. She earned a Juris Doctor degree

               from Stanford Law School in 2012.

            b. From August 2013 to October 2014, Ms. Lakin served as a law clerk to the

               Honorable Carol Bagley Amon of the Eastern District of New York. From

               January 2014 to January 2015, she served as a law clerk to the Honorable

               Raymond J. Lohier, Jr., of the Second Circuit Court of Appeals. For the three

               months in between these clerkships, she worked as a volunteer staff attorney with

               the ACLU Voting Rights Project.

            c. Ms. Lakin was admitted to the practice of law in the State of New York in 2013.

            d. She is admitted to practice in the following federal courts:

                    i. U.S. District Court for the Eastern District of Wisconsin (2015).

                   ii. U.S. Court of Appeals for the Fourth Circuits (2016), U.S. Court of

                       Appeals for the Tenth Circuit Court of Appeals (2016); U.S. Court of

                       Appeals for the Eighth Circuit (2016), U.S. Court of Appeals for the

                       Eleventh Circuit (2017).

                  iii. The United States Supreme Court (2017).

            e. She has also been admitted pro hac vice in several other U.S. District Courts and

               state courts.

            f. From February 2015 until present, Ms. Lakin has worked full-time with the

               ACLU Voting Rights Project, first as a legal fellow and, since February 2016, as a



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                staff attorney. She exclusively litigates voting rights and election law cases,

                including the following cases under the NVRA: APRI v. Husted, No. 16-980

                (U.S., argued Jan 10, 2018); and Common Cause v. Lawson, No. 1:17-cv-3936

                (S.D. Ind. Oct. 27, 2017). Her other voting rights matters include: ACLU v.

                Trump, No. 1:17-cv-01351 (D.D.C. July 10, 2017); Missouri NAACP v. Missouri,

                No. 17AC-CC00399 (Mo. Cir. Ct, June 8, 2017), appeal filed, Feb. 2, 2018;

                Missouri State Conference of the NAACP v. Ferguson-Florissant School District,

                201 F. Supp. 3d 1006 (E.D. Mo, Aug. 22, 2016), appeal heard, Dec. 13, 2017 (8th

                Cir.); Brown v. Kobach, No. 2016-CV-550 (Kan. Dist. Ct., Nov. 4, 2016), appeal

                filed, Dec. 5, 2016; Frank v. Walker, 819 F.3d 384 (7th Cir. 2016). Ms. Lakin has

                also drafted multiple amicus briefs, including Supreme Court briefs.

             g. Ms. Lakin has given presentations and continuing legal education classes

                concerning voting rights for various organizations, including the Kansas City

                Metropolitan Bar Association, Creating Change, and the U.S. Human Rights

                Network National Convening, and at universities and law schools, including

                Harvard Law School, Loyola University in New Orleans and Stanford Law

                School.

       9.       In an exercise of billing judgment, Plaintiffs do not seek recovery of time

expended in connection with the underlying contempt motion by ACLU legal fellow Emily

Zhang, a member of the trial team in this matter and a recent graduate of Stanford Law School.

Ms. Zhang contributed a total of three hours of work on the underlying contempt motion.

       10.      The number of attorneys’ hours spent on this case was minimized because of the

assistance of ACLU support staff, including paralegals and law clerks.



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             a. Plaintiffs seek reimbursement for time spent on this case by ACLU paralegal Lila

                Carpenter at a rate of $110.00 per hour.

             b. Plaintiffs do not seek reimbursement for the time spent on this case by legal

                administrative assistant Juan Diaz.

Qualifications of Kansas ACLU Staff Working on the Case

       11.      The Kansas ACLU is the national ACLU’s statewide affiliate in Kansas. The

Kansas ACLU, based in Overland Park, KS, has a local presence in the state, with over 7700

members statewide. Stephen D. Bonney, the Kansas ACLU attorney who worked on this case,

has extensive experience practicing in Kansas federal and state courts on a range of

constitutional issues, including voting rights litigation.

       12.      Mr. Bonney’s qualifications and expertise are as follows:

             a. Mr. Bonney obtained a Juris Doctor degree from the University of Kansas School

                of Law in 1985.

             b. He has been admitted to the practice of law in the State of Kansas since 1985 and

                in the State of Missouri since 1986.

             c. He is admitted to practice in the following federal courts:

                     i. U.S. District Courts for District of Kansas (1985) and the Western District

                        of Missouri (1986).

                    ii. U.S. Courts of Appeals for the Eighth Circuit (1987) and the Tenth Circuit

                        (2011).

                   iii. The United States Supreme Court (2013).

             d. From 1985 to 1986, Mr. Bonney worked as an Assistant Regional Attorney for the

                U.S. Department of Health & Human Services, Region VII.



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   e.   From 1986 to 1991, Mr. Bonney was an associate with Jolley, Walsh, Hager &

        Gordon in Kansas City, Missouri, where his primary area of practice was union-

        side labor law.

   f. From 1992 to 2008, Mr. Bonney was a sole practitioner and his primary area of

        practice was union-side labor law and civil rights litigation.

   g.   From 1992 and 2008, Mr. Bonney served as a volunteer member of the Legal

        Panel of the American Civil Liberties Union of Kansas & Western Missouri. In

        that capacity, he reviewed complaints about possible constitutional violations,

        advised the Board of Directors about possible litigation, and litigated many civil

        liberties issues.

   h. Some of the civil liberties cases Mr. Bonney litigated while he was a sole

        practitioner include: Gay & Lesbian Services Network v. Bishop, 832 F. Supp. 270

        (W. D. Mo. 1993) (First Amendment challenge to police department’s parade

        policy); Goodman v. City of Kansas City, 906 F. Supp. 537 (W.D. Mo. 1995)

        (First Amendment challenge to city’s Little Hatch Act); Webb v. City of Republic,

        55 F. Supp. 993 (W.D. Mo. 1999) (First Amendment challenge to city seal

        containing the Christian fish symbol); Beach v. City of Olathe, 185 F. Supp. 2d

        1229 (D. Kan. 2002) (First Amendment retaliation in employment); Quinly v. City

        of Prairie Village, 446 F. Supp. 2d 1233 (D. Kan. 2006) (First Amendment

        challenge to city’s sign ordinance).

   i. From September 1, 2008 until September 25, 2017, Mr. Bonney was the Chief

        Counsel and Legal Director of the American Civil Liberties Union Foundation of

        Kansas (previously known as the ACLU of Kansas & Western Missouri). Since



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                September 25, 2017, he has been the Legal Director Emeritus of the Kansas

                ACLU. While working for the Kansas ACLU, he has litigated numerous civil

                rights and civil liberties cases in Kansas’s federal and state courts.

             j. Mr. Bonney has also spoken and written extensively on civil liberties and voting

                rights issues. See, e.g., “The University Campus as Public Forum: The Legacy of

                Widmar v. Vincent,” 81 UMKC L. Rev. 545 (2012); “Democracy’s Rainbow: The

                Long Ascent and Rapid Descent of Voting Rights in Kansas,” 25 Kan. J.L. & Pub.

                Pol'y 347 (2016).

Requested Attorneys’ Fees

       13.      Below is a table summarizing all the time for which the Plaintiffs are seeking fees

in connection with their underlying contempt motion:

                        Billable Hours for Underlying Contempt Motion

Name (position)                          Time Spent Hourly Rate*      Billable Amount
Dale Ho (attorney)                             32.76          $450.00            $14,740.00
Doug Bonney (attorney)                          8.50          $450.00             $3,825.00
R. Orion Danjuma (attorney)                     8.90          $350.00             $3,115.00
Sophia Lin Lakin (attorney)                    14.03          $350.00             $4,911.67
Lila Carpenter (paralegal)                     11.31          $110.00             $1,244.38
                                                               SUM: $27,836.04


       14.      The hours and rates being claimed by ACLU timekeepers, with billing judgement

exercised, are reasonable for successfully prosecuting the underlying contempt motion.

       15.      ACLU attorneys’ and paralegal’s time records were kept contemporaneously with

the work performed. The claimed amount for litigation work summarized in the chart above is

the total lodestar amount—determined by multiplying the rate per hour by the hours each

attorney or paralegal reasonably and necessarily worked on this litigation. As detailed in


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Plaintiffs’ Application for Attorneys’ Fees and Litigation Expenses in Connection with Their

Motion for Contempt, the rates reflects the usual and customary rate for attorneys with a

comparable experience level and specialized skill in each of the attorneys respective home states.

       16.      I have attached the detailed time records for each ACLU timekeeper as

Attachment 1.

       17.      Each attorney seeking fees possesses the requisite understanding of relevant

evidence to prosecute claims under the NVRA. Plaintiffs request these rates given ACLU

attorneys’ experience and expertise in voting rights litigation. In ACLU attorneys’ experience,

this reflects the usual and customary rate for an attorney of comparable experience and skill.

       18.      In addition to the lodestar methodology described in the Plaintiffs’ Application

for Attorneys’ Fees and Litigation Expenses, this Court is authorized to consider the additional

factors outlined in that Application in concluding that our requested awards are appropriate. The

underlying motion involved a thorough factual investigation, multiple efforts to resolve this issue

outside of litigation, and ultimately, briefing and live testimony at a hearing before the Court.

       19.      One of the steps ACLU attorneys took to keep costs low was to ensure that as

much work as possible on the underlying contempt motion was performed by qualified attorneys

with lower hourly billing rates, instead of more experienced attorneys who charge higher fees.

       20.      A second step I took to exercise billing judgment was to exclude the hours of a

legal fellow who worked on the case, a legal administrative assistant and legal interns. When

possible, we used support staff, legal interns to help in the successful conduct of every aspect of

litigation. Where those timekeepers either engaged in entirely supportive or duplicative work, I

excluded those timekeepers.




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       B.      Reasonable Litigation Expenses and Costs

       21.     Plaintiffs are also claiming $454.95 in costs and expenses for ACLU attorneys’

travel costs associated with the contempt motion and hearing. A table summarizing the claimed

taxable and non-taxable costs is attached as Attachment 2 to this declaration.

       22.     These expenses were reasonably incurred in the course of providing effective

representation to the Plaintiffs, and Plaintiffs’ counsel made appropriate efforts throughout the

litigation to reduce unnecessary expenses.



I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Dated: May 7, 2018.

                                             /s/ Dale E. Ho
                                              DALE E. HO




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                       ATTACHMENT 1
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                                    Fish v. Kobach , No. 16-2105
                                 Dale E. Ho: Contempt-Related Hours

Project/Time entry                                Start date   Time (h)      Time (decimal)
Correspondence with Defendants                      11/10/2017       2:26:00           2.433
Correspondence w/ Defendants                        11/29/2017       0:56:04           0.934
Correspondence w/ Defendants                        11/30/2017       0:33:02           0.551
Correspondence w/ Defendants                        12/07/2017       1:00:15           1.004
Revise Contempt Motion                              12/22/2017       3:24:00           3.400
Edits to Motion for Contempt                        01/07/2018     14:03:26          14.057
Revise Contempt Reply                               01/23/2018       0:30:00           0.500
Draft Contempt Reply                                01/23/2018       1:22:34           1.376
Outline Contempt Reply                              01/23/2018       0:41:00           0.683
Contempt Hearing                                    03/20/2018       3:00:00           3.000
Contempt Fees Brief                                 04/25/2018       2:44:59           2.750
Contempt Fees Brief                                 04/26/2018       1:28:00           1.467
Contempt Fees Brief                                 05/02/2018       0:36:00           0.600
Total                                                              32:45:20          32.756
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                                    Fish v. Kobach , No. 16-2105
                             R. Orion Danjuma: Contempt-Related Hours

Project/Time entry                                    Start date   Time (decimal)
Contempt Hearing                                      03/20/2018            3.000

Correspondence with team re: contempt reply brief     01/23/2018            0.400
Review/edit reply brief                               01/23/2018            0.900
Review transcript of 10.5.16 hearing with Judge
Robinson                                              01/23/2018            0.400
Correspondence with team re: contempt motion          01/09/2018            0.300
Correspondence with D. Ho re: contempt motion         01/08/2018            0.100
Correspondence with T. Jayaraman re: contempt
brief                                                 01/04/2018            0.400
Correspondence with T. Jayaraman re:
synchronizing contempt motion with 2016 motion        01/03/2018            0.300
Review draft contempt brief                           01/03/2018            0.700

Review outstanding issues from contempt meet and
confer with Defendant, correpondence with D.Ho        12/08/2017            0.300
Correspondence with S. Lakin re: contempt letter      11/09/2017            0.500
Review/edit revised letter from S. Lakin              11/09/2017            0.700
Review/edit draft of November letter to Garrett Roe   11/08/2017            0.900
Total                                                                       8.900
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                                   Fish v. Kobach , No. 16-2105
                             Sophia Lin Lakin: Contempt-Related Hours

Project/Time entry                                  Start date     Time (h) Time (decimal)
Investigate rpts compliance issues re notice and
postcards                                             07/12/2017     0:25:04         0.417
Investigate rpts compliance issues re notice and
postcards                                             09/18/2017     0:22:35         0.373
Investigate rpts compliance issues re notice and
postcards                                             09/20/2017     0:14:20         0.237
Call with Marge re notice and postcards issues        09/20/2017     0:23:04         0.384
Draft emails to team re postcards issues              09/21/2017     0:15:14         0.252
Draft emails to team re postcards issues              09/22/2017     0:06:56         0.109
Review draft letter re compliance issues              10/16/2017     0:10:20         0.170
Call with Marge and J. Brater re postcard issues      10/26/2017     0:30:00         0.333
Draft letter to KSOS re compliance issues             10/29/2017     0:17:10         0.285
Draft compliance letter & investigation & emails
with Marge                                            10/29/2017     0:35:30         0.588
Draft emails to team re compliance letter             10/29/2017     0:26:40         0.440
Call with Marge re compliance issues & aff.           10/29/2017     1:10:27         1.171
Draft/review letter to KSOS re compliance issues      11/08/2017     0:42:40         0.707
Draft/review letter to KSOS re compliance issues      11/09/2017     0:25:00         0.417
F/up on compliance questions                          11/27/2017     0:21:43         0.357
Review compliance follow up letter                    11/29/2017     0:29:50         0.492
Emails with LWVK re compliance follow up              12/08/2017     0:15:46         0.258
Review contempt motion                                01/03/2018     0:21:12         0.352
Call with Marge re compliance issues                  01/09/2018     0:50:43         0.841
Review contempt reply                                 01/23/2018     0:22:55         0.376
Meeting with Marge re current status of postcards
issue                                                 02/15/2018     0:35:04         0.584
Emails with Marge & team re postcards issue           03/13/2018     0:15:04         0.251
Emails with LWVK & team re evidence for
contempt hr'g                                         03/16/2018     0:15:04         0.251
Research, emails re contempt hr'g/contempt hr'g       03/20/2018     2:03:00         2.051
Compile hours for contempt fees petition              04/24/2018     0:05:18         0.086
Compile hrs, review rates and decl & brief            04/25/2018     2:15:18         2.253
Total                                                               14:15:57        14.033
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                           Fish v. Kobach, No. 16-2105
                 Stephen Douglas Bonney: Contempt-Related Hours



Date               Task                        Rate               Total Fee
Hours
11/9/2017          Reviewed & revised          $450.00            $135.00
0.30               draft letter from D. Ho
                   to defendant Kobach
                   re: compliance with
                   preliminary injunction
                   & other court orders.
11/30/2017         Reviewed & revised          $450.00            $90.00
0.20               letter from D. Ho to S.
                   Becker re compliance
                   issues
1/8/2018           Reviewed plaintiffs'        $450.00            $225.00
0.50               motion to enforce
                   court orders & for
                   contempt hearing
                   for substance, form, &
                   general compliance
                   with D. Kan. rules
1/23/2018          Reviewed reply brief        $450.00            $225.00
0.50               for substance &
                   compliance with local
                   rules.
3/20/2018          Appeared at contempt        $450.00            $1,350.00
3.00               hearing.
4/24/2018          Preparation and             $450.00            $450.00
1.00               assembly of
                   declarations in support
                   of plaintiffs’ attorneys'
                   fees petition in
                   compliance with
                   contempt ruling (Doc.
                   520).
4/24/2018          Prepared time records       $450.00            $450.00
1.00               for contempt
                   proceeding attorney's
                   fees filing & drafted
                   declaration of S.D.
                   Bonney in support of
                   attorney's fees petition
                   on contempt.
4/25/2018          Reviewed & replied to       $450.00            $225.00
0.50               emails from
                   co-counsel re
      Case 2:16-cv-02105-JAR Document 529-1 Filed 05/07/18 Page 21 of 24

                                Fish v. Kobach, No. 16-2105
                      Stephen Douglas Bonney: Contempt-Related Hours
                       attorneys' fees issues.
5/2/2018               Drafted email to Allan    $450.00               $360.00
0.80                   Hallquist re
                       declaration regarding
                       market rates for
                       attorneys' fees &
                       prepared draft
                       declaration for Mr.
                       Hallquist.
5/4/2018               Reviewed & finalized      $450.00               $315.00
0.70                   Hallquist declaration
                       (.3); Reviewed &
                       replied to email from
                       A. Hallquist (.1);
                       Preparation and
                       assembly of Bonney
                       time records (.3).

8.50 Billable Hours                              $450.00               $3,8250.00
           Case 2:16-cv-02105-JAR Document 529-1 Filed 05/07/18 Page 22 of 24

                                  Fish v. Kobach , No. 16-2105
                           Lila R. Carpenter: Contempt-Related Hours


Project/Time entry                              Start date    Time (h)     Time (decimal)
Reviewing contempt fees brief                      05/04/2018      4:38:21      111:20:24
Reviewing contempt fees brief                      05/03/2018      0:12:06          0.202
Contempt Hearing                                   03/20/2018      3:00:00          3.000
Drafting Decl. for Contempt Reply                  01/24/2018      0:30:14          0.504
Citechecking, proofing Contempt Reply              01/24/2018      2:08:04       51:13:36
Filing Mot. for Contempt                           01/08/2018      0:50:00          0.833
Total                                                            11:18:45          11.313
Case 2:16-cv-02105-JAR Document 529-1 Filed 05/07/18 Page 23 of 24




                       ATTACHMENT 2
            Case 2:16-cv-02105-JAR Document 529-1 Filed 05/07/18 Page 24 of 24
                                    Fish v. Kobach , 16-2105



Contempt Motion Related Travel Expenses Incurred by ACLU Staff (including support staff)

HOTEL
Date                Memo                                                     Amount
3/19/2018           Dale Ho - Hotel in Kansas City during Contempt Hearing   $135.80
                    Lila Carpenter - Hotel in Kansas City during Contempt
3/19/2018           Hearing                                                  $135.80
                    Emily Zhang - Hotel in Kansas City during Contempt
3/19/2018           Hearing                                                  $135.80
                    Orion Danjuma - Hotel in Kansas City during Contempt
3/19/2018           Hearing                                                  $135.80

PER DIEM
3/20/2018           Dale Ho - Lunch on March 20, 2018                        $15.17
3/20/2018           Lila Carpenter - Lunch on March 20, 2018                 $14.22
3/20/2018           Orion Danjuma - Lunch on March 20, 2018                  $18.16

Total                                                                        $590.75
Emily                                                                        $135.80
Total Minus Emily                                                            $454.95
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                         EXHIBIT B
        Case 2:16-cv-02105-JAR Document 529-2 Filed 05/07/18 Page 2 of 4




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                 DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al., on behalf           )
of themselves and all others similarly situ-   )
ated,                                          )
                                               )
Plaintiffs,                                    )
                                               )
v.                                             )   Case No. 16-2105-JAR-JPO
                                               )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, et )
al.,                                           )
                                               )
Defendants.                                    )
                                               )

                   DECLARATION OF ALLAN V. HALLQUIST IN SUPPORT OF
                       PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES

       I, Allan V. Hallquist, declare and state the following in support of Plaintiffs’ motion for

attorneys’ fees:

       1. I am an attorney with Hallquist Law Firm, LLC in Kansas City, Missouri. I respect-

fully make this declaration in support of Plaintiffs’ Motion for Statutory Attorney Fees in con-

junction with the Court’s contempt order (Doc. 520).

       2. I am an attorney admitted to practice in the State of Missouri since 1980. I am admit-

ted to the United States District Court for the District of Kansas, the United States District Court

for the Western District of Missouri, the United States District Court for the Eastern District of

Michigan, the United States Court of Appeals for the Eighth Circuit, the United States Court of

Appeals for the Tenth Circuit, and the U.S. Tax Court.

       3. I graduated from the University of Iowa College of Law in 1980. Upon graduation I

was employed by the law firm of Blackwell Sanders Matheny Weary & Lombardi as an associ-
        Case 2:16-cv-02105-JAR Document 529-2 Filed 05/07/18 Page 3 of 4




ate, and I became a partner in that firm on January 1, 1985. I was a partner in that firm, now

known as Husch Blackwell LLP, until February 28, 2018, when I formed Hallquist Law Firm,

LLC.

       4. Since 1980 my practice has focused almost entirely on handling litigation matters in

state and federal courts. Presently, I am lead counsel on three cases pending in the United States

District Court for the District of Kansas.

       5. As a trial attorney who practices primarily in Missouri and Kansas, I am familiar with

the range of hourly rates charged by skilled and accomplished attorneys in the community. I have

handled cases and trials in which attorneys’ fees were recoverable pursuant to statutes or contrac-

tual provisions. Also, I am familiar with the annual Missouri attorney billing rates information

published by Missouri Lawyers Weekly.

       6. It has been my experience that attorneys in the Kansas City area are reluctant to accept

civil rights and voting rights cases on a contingent-fee basis. The risk associated with litigating

these cases is very great, and few, if any, civil rights litigants can afford to pay attorneys’ fees or

out-of-pocket expenses. Thus, when the cases are won, the rewards are not commensurate with

the risks unless an attorney can expect to obtain a substantial and fully compensable hourly rate.

       7. Stephen Douglas Bonney is an experienced attorney and is well-respected in the Kan-

sas City legal community. I have known Mr. Bonney professionally for many years. He obtained

his law degree from the University of Kansas in 1985, and he has practiced in Kansas City since

then. He has dedicated a substantial portion of his practice to defending constitutional and civil

rights throughout his career and has participated as counsel in cases before this Court, the Eighth

Circuit Court of Appeals, the Tenth Circuit Court of Appeals, and the United States Supreme



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Case 2:16-cv-02105-JAR Document 529-3 Filed 05/07/18 Page 1 of 4




                         EXHIBIT C
        Case 2:16-cv-02105-JAR Document 529-3 Filed 05/07/18 Page 2 of 4




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al.,                       )
                                                 )
                Plaintiffs,                      )
                                                 )        Case No. 16-2105-JAR-JPO
v.                                               )
                                                 )
KRIS KOBACH, in his official capacity as         )
Secretary of State for the State of Kansas,      )
                                                 )
                 Defendant.                      )
                                                 )

                    DECLARATION OF STEPHEN DOUGLAS BONNEY

       I, Stephen Douglas Bonney, declare and state the following in support of Plaintiffs’ Ap-

plication for Attorneys’ Fees in connection with the Court’s contempt ruling (Doc. 520):

       1. I am an attorney admitted to practice before the state courts of Kansas and Missouri,

the United States Supreme Court, the United States Courts of Appeals for the Eighth and Tenth

Circuits, and the United States District Courts for the Western District of Missouri and the Dis-

trict of Kansas. I graduated from the University of Kansas School of Law in 1985. I have prac-

ticed law in the Kansas City Metropolitan Area since 1985. After graduating from law school, I

was an Assistant Regional Attorney for the U.S. Department of Health & Human Services for a

little over a year. From 1986 to 2008, I maintained a civil litigation practice in the areas of labor,

employment, and civil rights law, primarily representing labor unions in law firms and as a sole

practitioner. Between 1992 and 2008, I served as a volunteer member of the Legal Panel of the

American Civil Liberties Union of Kansas & Western Missouri. In that capacity, I reviewed

complaints about possible constitutional violations, advised the Board of Directors about possi-

ble litigation, and litigated many civil liberties issues. Since September 1, 2008, I have been em-
        Case 2:16-cv-02105-JAR Document 529-3 Filed 05/07/18 Page 3 of 4




ployed as the Chief Counsel and Legal Director of the American Civil Liberties Union Founda-

tion of Kansas (previously known as the ACLU of Kansas & Western Missouri).

        2. Since my admission to the bar, I have had substantial experience in civil litigation

with a concentration in labor, employment, and civil rights cases. I have been a contributing au-

thor to Employee Benefits Law (BNA) and the Fair Labor Standards Act Treatise (BNA), and I

am a published author of several articles on labor law, civil rights, and civil liberties. See, e.g.,

“Opening Statement: To Reserve or Not to Reserve – That is the Question,” 18 Lab. & Emp. L.

Notes 11 (Mich. Bar Summer 2008); “The University Campus as Public Forum: The Legacy of

Widmar v. Vincent,” 81 UMKC L. Rev. 545 (2012); “Democracy’s Rainbow: The Long Ascent

and Rapid Descent of Voting Rights in Kansas,” 25 Kan. J.L. & Pub. Pol’y 347 (2016). In my

practice, moreover, I have successfully litigated many cases raising constitutional issues. See,

e.g., Quinly v. City of Prairie Village, 446 F. Supp. 2d 1233 (D. Kan. 2006); Beach v. City of

Olathe, 185 F. Supp.2d 1229 (D. Kan. 2002); Webb v. City of Republic, 55 F. Supp. 2d 994

(W.D. Mo. 1999); Goodman v. City of Kansas City, 906 F. Supp. 537 (W.D. Mo. 1995); Gay &

Lesbian Services Network v. Bishop, 832 F. Supp. 270 (W.D. Mo. 1993).

        3. Despite my experience litigating civil rights and civil liberties cases, I have very little

experience with voting rights issues and had never previously been involved in a case involving

the National Voter Registration Act (NVRA). In order to provide adequate representation to our

clients in this NVRA case, I associated with experienced co-counsel with expertise in voting

rights law generally and NVRA cases specifically. I am not aware of any previous NVRA cases

that have been litigated in Kansas, and I am not aware of any lawyers in Kansas or Missouri who

have experience in NVRA litigation. In this case, the involvement of out-of-state lawyers from



                                                   2
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the ACLU’s Voting Rights Project and the Dechert law firm saved immeasurable time on legal

research and made it possible for the Kansas ACLU to litigate this important case. Without such

help, the Kansas ACLU would have been unable to litigate this case.

       I declare under penalty of perjury that all of the foregoing statements are true and correct.

       Executed on May 7, 2018.

                                                 s/ Stephen Douglas Bonney__
                                                 Stephen Douglas Bonney
                                                 Attorney for Plaintiff




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                          EXHIBIT D
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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF KANSAS
STEVEN WAYNE FISH, et al., on behalf           )
of themselves and all others similarly         )
situated,                                      )
                                               )
       Plaintiffs,                             )
                                               )           Case No. 16-2105-JAR-JPO
v.                                             )
                                               )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, et )
al.,                                           )
                                               )
       Defendants.                             )
                                               )

             DECLARATION OF NEIL A. STEINER IN SUPPORT OF
        PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND LITIGATION
       EXPENSES IN CONNECTION WITH THEIR MOTION FOR CONTEMPT

        I, Neil A. Steiner, pursuant to Rule 37 of the Federal Rules of Civil Procedure and Rules

37.2 and 54.2 of the District of Kansas Local Rules, hereby declare as follows:

        1.      I am a member of the law firm Dechert LLP (“Dechert”) and have been admitted

pro hac vice in this Court to represent Plaintiffs in this action. I respectfully submit this

Declaration in support of Plaintiffs’ Application for Attorneys’ Fees and Litigation Expenses in

Connection with their Motion for Contempt. I have personal knowledge of the subject matter in

this Declaration and, if called upon, I would competently testify to the facts set forth below.

        2.      The American Civil Liberties Union (“ACLU”), the ACLU of Kansas (“Kansas

ACLU”) and Dechert were retained in 2015 to represent Steven Wayne Fish, Donna Bucci,

Charles Stricker, Thomas J. Boynton, Douglas Hutchinson and the League of Women Voters of

Kansas (collectively, “Plaintiffs”). I have been involved in this litigation since its inception as the

lead partner with overall responsibility for Dechert’s representation of Plaintiffs and as co-lead

counsel for Plaintiffs. In that regard, I drafted or reviewed and approved virtually all of the
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substantive pleadings and briefs filed by Plaintiffs in this action in both this Court and before the

Tenth Circuit.

A. Qualifications of Dechert Attorneys

       3.        I joined Dechert in January 2005 as an associate and became a partner on January

1, 2006. Prior to joining Dechert, I was an associate with the New York firm Shereff, Friedman,

Hoffman & Goodman, LLP and subsequently in the New York office of Swidler Berlin Shereff

Friedman, LLP.

       4.        I obtained an Artium Baccalaureus, magna cum laude, from Duke University in

1994. I obtained a Juris Doctor, magna cum laude, from Harvard Law School in 1997. I have

been admitted to practice in the State of New York since 1998. I am a member in good standing

of the bars of the United States Courts of Appeals for the Second, Sixth, Seventh, Ninth, and

Tenth Circuits, and the bars of the United States District Courts for the Southern, Eastern, and

Northern Districts of New York, the Eastern District of Michigan and Eastern District of

Wisconsin.

       5.        I have spent the entirety of my legal career litigating complex, high-stakes cases

in federal and state courts and before arbitral tribunals throughout the United States and

defending companies and individuals in governmental and regulatory investigations. I have

published ten articles on topics relating to securities litigation and investigations, am the co-

author of two chapters in treatises on litigation in federal and New York state courts, and taught a

course entitled Basic Skills for the New Litigating Attorney for recent graduates of Cardozo Law

School.

       6.        I am also active in pro bono matters, particularly in cases protecting the right to

vote. In addition to this action, I am currently the lead partner at Dechert representing plaintiffs:



                                                   2
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(i) in a challenge of the Wisconsin voter identification statute, which I successfully tried with the

ACLU and the ACLU of Wisconsin in November 2013 and is currently on appeal (for the third

time) to the Seventh Circuit Court of Appeals; (ii) in a challenge to the Texas voter identification

statute, which a now-retired Dechert partner (Ezra Rosenberg, now with the Lawyers’

Committee for Civil Rights Under Law) tried with multiple public interest organizations in 2014

and has since been to the Fifth Circuit Court of Appeals twice, including an en banc finding that

the voter identification law had a discriminatory effect in violation of Section 2 of the Voting

Rights Act; (iii) in a claim under Section 2 of the Voting Rights Act challenging the election of

judges to the Texas Supreme Court and the Court of Criminal Appeals, which I tried with the

Lawyers’ Committee for Civil Rights Under Law in February 2018; and (iv) in an NVRA claim

against the Commissioners of the New York State Board of Elections and the Executive

Directors of the New York State Board of Elections. In addition, with the public interest

organization Demos, I represent proposed intervenors seeking to intervene as defendants and

prevent the unnecessary purges of registered voters in an NVRA action brought by Judicial

Watch, Inc. against the California Secretary of State and the Los Angeles County Register. My

prior pro bono matters included representing plaintiffs and obtaining favorable settlements in

NVRA claims against the states of Ohio (which included arguing Harkless v. Brunner, 545 F.3d

445 (6th Cir. 2008), a first-impression case in the Sixth Circuit Court of Appeals), Nevada

(which included arguing National Council of La Raza v. Cegavske, 800 F.3d 1032 (9th Cir.

2015) in the Ninth Circuit Court of Appeals) and Georgia, and the Board of Elections of the City

of New York, and obtaining a satellite location for in-person absentee voting on the tribal

reservation for Native American residents of Jackson County, South Dakota as a result of a claim

under Section 2 of the Voting Rights Act.



                                                  3
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        7.      Angela Liu is an associate in the firm’s litigation practice group. She obtained a

Bachelor of Arts, highest honors, Phi Beta Kappa, from The University of North Carolina at

Chapel Hill in 2004, where she was also a Morehead Scholar. She obtained a Juris Doctor from

the University of North Carolina School of Law in 2009.

        8.      Following law school, Ms. Liu clerked for the Honorable John R. Gibson of the

United States Court of Appeals for the Eighth Circuit, and then was an associate in the Chicago

office of Katten Muchin Rosenman LLP, before joining Dechert in 2012.

        9.      Ms. Liu has been admitted to practice in the State of Illinois since 2009 and the

State of Missouri since 2010. She is a member in good standing of the bars of the United States

Supreme Court, the United States Courts of Appeals for the Seventh, Eighth, and Tenth Circuits,

and the bars of the United States District Courts for the Eastern District of Wisconsin and the

Northern District of Illinois.

        10.     Ms. Liu’s practice focuses on the defense of publicly-traded companies and their

directors and officers in securities class action litigation, derivative litigation, SEC

investigations, merger litigation, corporate governance disputes, and other complex commercial

litigation. She also has an active pro bono practice. In addition to this case, she worked with me

extensively on the challenge to the Wisconsin voter identification statute both at trial and in the

Seventh Circuit.

        11.     Tharuni Jayaraman is an associate in the firm’s litigation practice group. Ms.

Jayaraman obtained a Bachelor of Arts, summa cum laude, Phi Beta Kappa, from The University

of Pennsylvania in 2011 and a Master in Public Policy from the Harvard Kennedy School in

2016. She obtained a Juris Doctor, cum laude, from Harvard Law School in 2016. Her JD/MPP




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capstone/thesis was entitled, “Protecting the Right to Vote: A Toolkit for Lawyer-Organizers

Working to Protect the Right to Vote of Native Americans.”

       12.     While in law school, Ms. Jayaraman was a legal intern at the Voting Rights

Project of the Lawyers’ Committee for Civil Rights Under Law, where she worked on the

National Commission on Voting Rights’ 2014 report on voting discrimination entitled,

“Protecting Minority Voters: Our Work is Not Done.”

       13.     Ms. Jayaraman has been admitted to practice in the State of New York since 2017

and the District of Columbia since 2018.

       14.     As part of her pro bono practice, Ms. Jayaraman is working with me on the

NVRA claim against the Commissioners of the New York State Board of Elections and the

Executive Directors of the New York State Board of Elections. She has also assisted on the

challenge to the Wisconsin voter identification statute.

       15.     Plaintiffs are also claiming fees for the time spent by paralegal Delaney Berman

who assisted in the preparation of the motion for contempt and related papers.

B. Requested Attorneys’ Fees

       16.     In accordance with Dechert’s standard practices, I contemporaneously recorded

all of the time I spent on this action, which my assistant or other members of the administrative

staff entered into Dechert’s electronic billing system. Other lawyers, paralegals, summer

associates and non-lawyer timekeepers at Dechert are likewise required to record their time spent

on client matters contemporaneously and to enter or cause their assistants or the administrative

staff to enter accurate time records and descriptions of work performed in the Dechert billing

system.




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       17.      In accordance with this Court’s April 18, 2018 Memorandum and Order, Doc. 520,

Table 1 below summarizes all the time for which Plaintiffs are seeking fees in connection with:

                     a. Drafting the November 11, 2017 letter to Defendant, see Doc. 424, Ex. F;

                     b. Drafting the November 30, 2017 letter to Defendant, see Doc. 424, Ex. I;

                     c. Participating in the December 7, 2017 meet and confer with Defendant’s
                        counsel;

                     d. Drafting Plaintiffs’ Memorandum of Law And Facts in Support of Their
                        Motion to Enforce Court Orders and for Order to Show Cause Why
                        Defendant Kobach Should Not be Held in Contempt, see Doc. 424;

                     e. Drafting Plaintiffs’ Reply in Support of Their Motion to Enforce Court
                        Orders and For Order to Show Cause Why Defendant Kobach Should Not
                        be Held in Contempt, see Doc. 437; and

                     f. Participating in the March 30, 2018 hearing on Plaintiffs’ Motion to
                        Enforce Court Orders and for Order to Show Cause Why Defendant
                        Kobach Should Not be Held in Contempt, see Doc. 516.

       18.      Table 1 sets forth Dechert LLP’s customary hourly rate for each attorney, in

accordance with their experience level.

                                          Law School                 Hourly
                 Person         Title                    Hours                     Total
                                            Year                      Rate
             Neil Steiner      Partner       1997            8.40    $1,140.00    $9,576.00
             Angela Liu       Associate      2009            5.10     $850.00     $4,335.00
             Tharuni
                              Associate      2016           55.80      $565.00   $31,527.00
             Jayaraman
             Delaney Berman   Paralegal      N/A             8.10      $160.00    $1,296.00
                                          TOTAL                                  $46,734.00
                       Table 1: Attorneys’ Fees at Dechert LLP’s Customary Rates




                                                    6
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       19.      For purposes of this application, Plaintiffs’ requested rates for each attorney are

set forth in Table 2, as follows:

                                             Law School                    Hourly
                 Person             Title                    Hours                      Total
                                               Year                         Rate
             Neil Steiner      Partner          1997             8.40       $450.00    $3,780.00
             Angela Liu       Associate         2009             5.10       $350.00    $1,785.00
             Tharuni
                              Associate         2016            55.80       $275.00   $15,345.00
             Jayaraman
             Delaney Berman    Paralegal         N/A             8.10       $110.00     $891.00
                                             TOTAL                                    $21,801.00
                                      Table 2: Requested Attorneys’ Fees

       20.      I have limited the request for reimbursement to the time spent by the core team of

Dechert attorneys who worked on the underlying contempt motion and related papers and the

March 20, 2018 evidentiary hearing, and am not seeking reimbursement for time spent by other

Dechert attorneys, notably time spent by such other attorneys participating in conference calls

and other strategic decision-making, and reviewing and editing the papers. Further, to keep costs

low and as reflected in Table 1, as much work as possible on the underlying contempt motion

and related papers was performed by qualified attorneys with lower hourly billing rates,

primarily Ms. Jayaraman, instead of more experienced attorneys who charge higher hourly rates.

       21.      Likewise, we have reviewed time records and have not claimed time that I

believed to be either redundant or duplicative. Where more than one attorney is claiming time

for a given task, it is because, in my judgment, that additional attorney’s time was necessary to

the successful completion of the task. Where it was not necessary, that time was removed from

the time records.

       22.      In addition to the lodestar methodology described in Plaintiffs’ Application for

Attorneys’ Fees and Expenses, this Court is authorized to consider the additional factors outlined

in that Application in concluding that our requested awards are appropriate. The underlying



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motion involved a thorough factual investigation, multiple efforts to resolve this issue outside of

litigation, and ultimately, briefing and live testimony at an evidentiary hearing before the Court.

       23.     I have reviewed the background and experience of the ACLU attorneys who

performed work in connection with the underlying contempt motion. Table 3 sets forth the

customary hourly rates for these attorneys if they were Dechert attorneys or paralegals with the

same level of experience (with Mr. Ho comparable to a Dechert partner and Mr. Danjuma and

Ms. Lakin comparable to a Dechert senior litigation associate):

                                                         Law School       Hourly
                            Person           Title
                                                           Year            Rate
                     Dale Ho               Partner       2005        $915.00
                     R. Orion Danjuma    Associate       2010        $840.00
                     Sophia Lin Lakin    Associate       2012        $795.00
                     Lila Carpenter       Paralegal      N/A         $160.00
                     Table 3: ACLU Attorneys at Dechert LLP’s Customary Rates

       24.     As is shown in Table 4 below, Plaintiffs are also claiming $434.17 in costs and

expenses for Dechert LLP’s attorneys’ travel costs associated with the contempt motion and

hearing.

                          Person            Title        Hotel     Travel      Total
                  Neil Steiner             Partner       $135.80       $0.00   $135.80
                  Angela Liu              Associate      $135.80      $15.09   $150.89
                  Tharuni Jayaraman       Associate      $135.80      $11.68   $147.48
                  TOTAL                                $407.40     $26.77   $434.17
                          Table 4: Reasonable Litigation Expenses and Costs

       25.     Plaintiffs are also claiming $1,120 in connection with the trial support services –

namely the creation of demonstrative exhibits, use of courtroom technology, and electronic

presentation of those demonstratives – provided by Mr. Stephen N. Najarian of the firm Legal

Horizons during the March 30, 2018 hearing on Plaintiffs’ Motion to Enforce Court Orders and for

Order to Show Cause Why Defendant Kobach Should Not be Held in Contempt, see Doc. 516.




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Mr. Najarian provided 8 hours of trial support at a rate of $140.00/hour. Legal Horizon’s fees and

expenses have been paid by Dechert.

       26.     These expenses, totaling $1,554.17 were reasonably incurred in the course of

providing effective representation to the Plaintiffs, and Plaintiffs’ counsel made appropriate

efforts throughout the litigation to reduce unnecessary expenses.

       27.     In sum, Plaintiffs are claiming $23,355.17 in fees and out-of-pocket expenses

incurred by Dechert in connection with the contempt motion.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

DATED this 7th day of May, 2018, in New York, NY.
                                                 /s/ Neil A. Steiner
                                                 NEIL STEINER*
                                                 Dechert LLP
                                                 1095 Avenue of the Americas
                                                 New York, NY 10036-6797
                                                 Phone: (212) 698-3500
                                                 Fax: (212) 698-3599
                                                 neil.steiner@dechert.com

                                                 Counsel for Plaintiffs

                                                 * admitted pro hac vice




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                       ATTACHMENT 1
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                                                                         DATE                  May 7, 2018
                                                                         INVOICE NO.               144245
                                                                         FED. ID. XX-XXXXXXX




                                          DECHERT LLP
                                     1095 AVENUE OF THE AMERICAS
                                        NEW YORK, NY 10036-6797




     League of Women Voters of Kansas



     FOR PROFESSIONAL SERVICES RENDERED through March 31, 2018:

     TOTAL FEES:                                                                       $46,734.00


     TOTAL AMOUNT DUE:                                                                 $46,734.00




       PLEASE INCLUDE REFERENCE NUMBER AND REMIT TO THE ATTENTION OF     ISABEL CAMPOS         AT:

                                        DECHERT LLP
                                        1095 AVENUE OF THE AMERICAS
                                        NEW YORK, NY 10036-6797


   THE AMOUNT INCLUDED FOR COSTS INCLUDES ALL EXPENSES WHICH HAVE BEEN RECEIVED AND RECORDED
   THROUGH THE END OF THE MONTH PRECEDING THE DATE OF THIS STATEMENT. ANY ADDITIONAL EXPENSES
 RECEIVED AFTER THAT DATE WILL BE BILLED IN THE FUTURE. PAYMENT DUE IN U.S. DOLLARS UPON RECEIPT OF
INVOICE. AFTER 30 DAYS A LATE CHARGE OF 1% PER MONTH (OR SUCH LOWER RATE AS REQUIRED BY APPLICABLE
                                          LAW) WILL BE DUE.
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                                 DECHERT LLP
                      DESCRIPTION OF LEGAL SERVICES
                               March 31, 2018




     TIMEKEEPER                           RATE        HOURS                FEES

N.   Steiner        Partner              1,140.00         8.40        9,576.00
A.   Liu            Associate              850.00         5.10        4,335.00
T.   Jayaraman      Associate              565.00        55.80       31,527.00
D.   Berman         Paralegal              160.00         8.10        1,296.00

                                TOTALS                   77.40      $46,734.00
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                             DECHERT LLP
                     DESCRIPTION OF LEGAL SERVICES
                              March 31, 2017




DATE          ATTY       HOURS     DESCRIPTION

09/20/17       TAJ         1.40    Drafted letter to defendant.

09/21/17       TAJ         3.00    Drafted letter to defendants.

09/27/17       TAJ         3.30    Edited letter to defendant's counsel regarding
                                   notice and discovery issues.
09/28/17       TAJ         1.00    Edited letter to defense counsel.

09/29/17        DB         0.30    Assisted T. Jayaraman with proofreading letter.

10/03/17       TAJ         1.50    Edited letter to defendant.

11/13/17       TAJ         4.80    Drafted motion to compel.

11/14/17       TAJ         1.00    Edited motion to compel.

11/15/17       TAJ         4.40    Edited motion to compel and motion for sanctions.

11/16/17       TAJ         4.90    Edited motion to compel and motion for contempt.

11/27/17       TAJ         2.40    Drafted response letter to opposing counsel.

11/28/17       TAJ         1.40    Edited response letter to opposing counsel.

11/29/17       TAJ         0.80    Edited response letter to opposing counsel.

11/30/17       TAJ         1.30    Edited response letter to opposing counsel.

12/06/17       TAJ         2.40    Edited motion for contempt.

12/07/17       TAJ         3.00    Meet and confer with defendant; drafted follow-up
                                   email.

12/11/17       TAJ         0.60    Edited motion for contempt.

12/12/17       AML         0.50    Review motion for contempt
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DATE          ATTY       HOURS     DESCRIPTION

12/12/17        DB         0.60    Assist T. Jayaraman with proofreading.

12/12/17       TAJ         2.40    Edited motion for contempt

12/20/17       AML         1.00    Attend conference call; review motion for
                                   sanctions.

12/20/17       TAJ         1.70    Edited motion for contempt.

12/21/17        DB         0.80    Assist T. Jayaraman with proofreading.

12/21/17       TAJ         2.50    Edited motion for contempt.
                                   Review draft motion for contempt and email
12/22/17       NAS         0.40
                                   correspondence with DH regarding same.
12/22/17       TAJ         1.20    Edited motion for contempt.

01/04/18       TAJ         2.00    Updated motion for contempt.

01/04/18        DB         0.10    Confer with T. Jayaraman regarding preparation
                                   of Motion for Contempt

01/05/18       TAJ         3.30    Edited motion for contempt.
                                   Assist T. Jayaraman with proofreading Motion for
01/05/18        DB         1.30
                                   Contempt.
01/07/18       TAJ         1.60    Edited motion for contempt.
                                   Edited motion to compel; prepared corresponding
01/08/18       TAJ         3.90
                                   exhibits.
01/08/18        DB         5.00    Continue to assist T. Jayaraman with preparation
                                   of Memorandum in Support of Motion to Enforce
                                   Court Orders and for Order to Show Cause.

01/22/18       NAS         0.50    Review opposition to contempt.

01/23/18       NAS         0.50    Review and revise reply brief on contempt; email
                                   correspondence with co-counsel.

03/19/18       NAS         2.00    Prep for contempt hearing.

03/20/18       NAS         5.00    Contempt hearing
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DATE          ATTY       HOURS     DESCRIPTION

03/20/18       AML         3.6     Prepare for and attend contempt hearing.


TOTAL HOURS:             77.40     AMOUNT:                        $46,734.00
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                              REMITTANCE TRANSMITTAL FORM

PLEASE MAKE YOUR CHECK PAYABLE TO
DECHERT LLP



PLEASE COMPLETE THE TOP PORTION AND RETURN THIS     STATEMENT DATE:              May 7, 2018
FORM WITH YOUR PAYMENT TO:
                                                    STATEMENT REFERENCE NO:          144245
DECHERT LLP                                         AMOUNT PAID:
1095 AVENUE OF THE AMERICAS
NEW YORK, NY 10036-6797                             CHECK #:


FOR DECHERT USE ONLY                                FOR FINANCE USE ONLY

ATTORNEY NAME:                                      TOTAL AMOUNT:

PREPARED BY:                  Icampos               CHECK#:

CLIENT & MATTER NO:           144245                DATE DEPOSITED:

CLIENT NAME:     League of Women Voters of Kansas
                                                                                        (WSPB)




Comments:




                      PLEASE RETURN THIS FORM WITH YOUR PAYMENT
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                         EXHIBIT E
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